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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


 GENERAL MOTORS LLC,
 GENERAL MOTORS COMPANY,                      No. 19-cv-13429

                    Plaintiffs,               Honorable Paul D. Borman
       against                                District Court Judge

 FCA US LLC, FIAT CHRYSLER                    Honorable David R. Grand
 AUTOMOBILES N.V., ALPHONS                    Magistrate Judge
 IACOBELLI, JEROME DURDEN,
 MICHAEL BROWN,

                    Defendants.



   ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE
          CONFIDENTIAL INFORMATION UNDER SEAL

      This matter is before the Court upon Plaintiffs General Motors LLC’s and

General Motors Company’s (collectively, “GM”) Motion for Leave to File

Confidential Information Under Seal in connection with their Opposition in

Response to Fiat Chrysler Automobiles N.V.’s (“FCA NV”) Motion to Dismiss the

Complaint (Dkt. No. 59). The Court, having reviewed GM’s Motion and Brief in

Support, and being otherwise fully advised in the premises, hereby finds that Exhibit

1 to GM’s Opposition in Response to FCA NV’s Motion to Dismiss the Complaint

should be sealed to permit FCA NV sufficient time to identify whether the document

remains sensitive and should be restricted from public view.


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      The Court therefore orders that GM’s Motion for Leave to File Confidential

Information Under Seal is GRANTED.

SO ORDERED.

Dated: March 10, 2020                      s/Paul D. Borman
                                           Paul D. Borman
                                           United States District Judge




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